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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

UNITED STATES OF AMERICA,             )
                                      )
      Plaintiff,                      )
                                      )
v.                                    ) No. 4:04CR629 RWS
                                      )
ANTOINE GORDON, et al.,               )
                                      )
      Defendants.                     )

                                     ORDER

      This matter is before the Court on defendant Antoine Gordon’s motions to

suppress evidence and statements.

      Pursuant to 28 U.S.C. § 636(b), the motions were referred to United States

Magistrate Judge David D. Noce. An evidentiary hearing was held on March 29,

2005, and thereafter Judge Noce filed his Report and Recommendation regarding

the defendant's motions.

      After careful consideration, the Court will adopt and sustain the thorough

reasoning of Magistrate Judge Noce set forth in support of his recommended rulings

issued on July 1, 2005.

      Accordingly,

      IT IS HEREBY ORDERED that the Report and Recommendation of the

United States Magistrate Judge is SUSTAINED, ADOPTED, and
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INCORPORATED herein.

      IT IS FURTHER ORDERED that defendant's motions to suppress

evidence and statements [#291, #351] are denied.



                                      _______________________________
                                      RODNEY W. SIPPEL
                                      UNITED STATES DISTRICT JUDGE


Dated this 4th day of August, 2005.




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